                                        Case 3:16-cv-01784-BEN-BLM Document 29 Filed 12/07/16 PageID.203 Page 1 of 2


                                         KAZEROUNI LAW GROUP, APC              HYDE & SWIGART
                                    1
                                         Abbas Kazerounian, Esq. (249203)      Joshua B. Swigart, Esq. (225557)
                                    2    ak@kazlg.com                          josh@westcoastlitigation.com
                                         Matthew M. Loker, Esq. (279939)       2221 Camino Del Rio South, Suite 101
                                    3
                                         ml@kazlg.com                          San Diego, CA 92108
                                    4    245 Fischer Avenue, Unit D1           Telephone: (619) 233-7770
                                         Costa Mesa, CA 92626                  Facsimile: (619) 297-1022
                                    5
                                         Telephone: (800) 400-6808
                                    6    Facsimile: (800) 520-5523
                                    7
                                         LAW OFFICE OF CLARK OVRUCHESKY
                                    8    Clark Ovruchesky, Esq. (301844)
                                    9
                                         co@colawcalifornia.com
                                         750 B Street, Suite 3300
                                   10    San Diego, CA 92101
                                   11
                                         Telephone: (619) 356-8960
                                         Facsimile: (619) 330-7610
KAZEROUNI LAW GROUP, APC
 245 F ISCHER A VENUE , U NIT D1




                                   12
    C OSTA M ESA , CA 92626




                                         Attorneys for Plaintiff,
                                   13    Marissa Glover
                                   14
                                                             UNITED STATES DISTRICT COURT
                                   15                      SOUTHERN DISTRICT OF CALIFORNIA
                                   16
                                         MARISSA GLOVER,                       Case No.: 16-cv-1784 BEN (BLM)
                                   17
                                                       Plaintiff,              NOTICE OF SETTLEMENT RE:
                                   18                                          DEFENDANT TRANS UNION LLC
                                                               v.
                                   19                                          HON. ROGER T. BENITEZ
                                         JPMORGAN CHASE BANK,
                                   20
                                         N.A.; EQUIFAX
                                   21    INFORMATION SERVICES,
                                         LLC; EXPERIAN
                                   22
                                         INFORMATION SOLUTIONS,
                                   23    INC.; AND, TRANS UNION
                                         LLC,
                                   24
                                   25
                                                        Defendants.
                                   26
                                         ///
                                   27
                                         ///
                                   28


                                         NOTICE OF SETTLEMENT RE: DEFENDANT TRANS UNION LLC ONLY
                                        Case 3:16-cv-01784-BEN-BLM Document 29 Filed 12/07/16 PageID.204 Page 2 of 2



                                    1          NOTICE IS HEREBY GIVEN that the dispute between Plaintiff
                                    2    MARISSA GLOVER (“Plaintiff”) and Defendant TRANS UNION LLC (“Trans
                                    3    Union”) only has been resolved in its entirety. The Parties anticipate filing a Joint
                                    4    Motion for Dismissal of Trans Union with Prejudice within 60 days. Plaintiff
                                    5    requests that all pending dates and filing requirements with regard to Trans Union
                                    6    be vacated and that the Court set a deadline on or after February 7, 2016 for filing
                                    7    a Joint Dismissal.
                                    8
                                    9
                                         Dated: December 7, 2016                                     Respectfully submitted,
                                   10
                                   11                                                       KAZEROUNI LAW GROUP, APC
KAZEROUNI LAW GROUP, APC
 245 F ISCHER A VENUE , U NIT D1




                                   12
                                                                                        By: ____/s/ Matthew M. Loker___
    C OSTA M ESA , CA 92626




                                   13                                                            MATTHEW M. LOKER, ESQ.
                                                                                                   ATTORNEY FOR PLAINTIFF
                                   14
                                   15
                                   16
                                   17
                                   18
                                   19
                                   20
                                   21
                                   22
                                   23
                                   24
                                   25
                                   26
                                   27
                                   28


                                         NOTICE OF SETTLEMENT RE: TRANS UNION ONLY                            PAGE 1 OF 1
